     Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 1 of 9
                                  PageID.2416



                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )          Cr. No. 06-00080 SOM (05)
                              )
          Plaintiff,          )          ORDER DENYING RODNEY JOSEPH’S
                              )          MOTIONS TO DISMISS (DOCUMENT
     vs.                      )          NOS. 439 AND 441)
                              )
RODNEY JOSEPH (02),           )
                              )
          Defendants.         )
_____________________________ )

                     ORDER DENYING RODNEY JOSEPH’S
            MOTIONS TO DISMISS (DOCUMENT NOS. 439 AND 441)

I.           INTRODUCTION.

             Defendant Rodney Joseph was charged in an eight-count

Second Superseding Indictment filed on October 12, 2006, with a

RICO violation (Count 1), a RICO conspiracy (Count 2), an illegal

gambling business (Count 3), and various violent crimes in aid of

racketeering activity, namely assault with a dangerous weapon

(Count 4), murder (Counts 6 and 7), and attempted murder

(Count 8).1

             On October 5, 2007, Joseph filed two motions to dismiss

Counts 1, 2, 4, 5, 6, 7, and 8 of the Second Superseding

Indictment.     The first, Document No. 439, argues that those

counts should be dismissed because the indictment fails to allege

an associated-in-fact enterprise.        The second, Document No. 441,

argues that those counts should be dismissed as multiplicitous.


       1
      Count 5 charged other Defendants with assault with a
dangerous weapon.
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07     Page 2 of 9
                               PageID.2417


Neither argument is persuasive, and both motions are denied

without a hearing.

II.       ANALYSIS.

          Rule 12(b) of the Federal Rules of Criminal Procedure

allows the consideration at the pretrial stage of any defense

that “is capable of determination without the trial of the

general issue.”    A motion to dismiss is generally “capable of

determination” before trial if it involves questions of law

rather than fact.    United States v. Nukida, 8 F.3d 665, 669

(1993).

          A.      Associated-in-Fact Enterprise.

          Joseph argues that Counts 1, 2, 4, 5, 6, 7, and 8 of

the Second Superseding Indictment should be dismissed for failing

to allege an associated-in-fact enterprise.        Joseph says that an

associated-in-fact enterprise should have some kind of

ascertainable separate structure.      Joseph recognizes that his

motion is foreclosed by the Ninth Circuit’s en banc decision in

Odom v. Microsoft, 486 F.3d 541, 551 (9th Cir.), cert. denied,

128 S. Ct. 464 (2007).    In Odom, the en banc court held that “an

associated-in-fact enterprise under RICO does not require any

particular organizational structure, separate or otherwise,” id.

at 551, noting that, although there must “be an associated-in-

fact enterprise, . . . there is no additional requirement that

the enterprise have an ‘ascertainable structure.’”             Id. at 551-


                                   2
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 3 of 9
                               PageID.2418


52.   Notwithstanding binding Ninth Circuit case law from an en

banc court, Joseph urges this court to follow contrary case law

from other jurisdictions.      Because this court is bound by Ninth

Circuit case law, Joseph’s motion to dismiss based on a supposed

failure to allege an associated-in-fact enterprise is denied

without a hearing.

           B.     Multiplicity.

           Joseph next argues that Counts 1, 2, 4, 5, 6, 7, and 8

of the Second Superseding Indictment should be dismissed as

multiplicitous.    The Double Jeopardy Clause provides three

related protections: (1) it prohibits a second prosecution for

the same offense after acquittal; (2) it prohibits a second

prosecution for the same offense after conviction; and (3) it

prohibits multiple punishments for the same offense.           United

States v. Wilson, 420 U.S. 332, 343 (1975) (en banc).

Accordingly, the imposition of multiple trials, multiple

convictions, and multiple punishments for the same offense is

prohibited by the Double Jeopardy Clause.       United States v. Arlt,

252 F.3d 1032, 1035 (9th Cir. 2001).

           “An indictment is multiplicitous when it charges

multiple counts for a single offense, producing two penalties for

one crime and thus raising double jeopardy questions.”           United

States v. Stewart, 420 F.3d 1007, 1012 (9th Cir. 2005).

“However, two counts within an indictment are not multiplicitous


                                    3
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 4 of 9
                               PageID.2419


if each separately violated statutory provision requires proof of

an additional fact which the other does not.”        Id. (quotations

omitted).    In other words, offenses are not multiplicitous if

they require proof of an element that the other does not.            See

Blockburger v. United States,     284 U.S. 299, 304 (1932).

            Joseph argues that he is charged with a gambling

offense in violation of 18 U.S.C. § 1955 in Count 3 of the Second

Superseding Indictment.    Because gambling is mentioned in Counts

1, 2, 4, 5, 6, 7, and 8, Joseph argues that those counts should

be dismissed as multiplicitous.     However, each of the crimes

alleged in Counts 1, 2, 4, 5, 6, 7, and 8 contains an element not

required for a conviction on Count 3 of the Second Superseding

Indictment.

            Joseph does not describe how any count contains the

same elements as Count 3, an alleged violation of 18 U.S.C.

§ 1955, which states in relevant part:

            (a) Whoever conducts, finances, manages,
            supervises, directs, or owns all or part of
            an illegal gambling business shall be fined
            under this title or imprisoned not more than
            five years, or both.

            (b) As used in this section--

                 (1) “illegal gambling business” means a
            gambling business which--

                       (i) is a violation of the law of a
            State or political subdivision in which it is
            conducted;



                                   4
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07     Page 5 of 9
                               PageID.2420


                    (ii) involves five or more persons
          who conduct, finance, manage, supervise,
          direct, or own all or part of such business;
          and

                    (iii) has been or remains in
          substantially continuous operation for a
          period in excess of thirty days or has a
          gross revenue of $2,000 in any single day.

               (2) “gambling” includes but is not
          limited to pool-selling, bookmaking,
          maintaining slot machines, roulette wheels or
          dice tables, and conducting lotteries,
          policy, bolita or numbers games, or selling
          chances therein.

               (3) “State” means any State of the
          United States, the District of Columbia, the
          Commonwealth of Puerto Rico, and any
          territory or possession of the United States.

Perhaps Joseph’s best argument is that Count 1 charges Joseph

with a RICO violation, and Count 2 charges him with a RICO

conspiracy based, in part, on an illegal gambling operation.2

See Second Superseding Indictment, Count 1 ¶ 8 and Count 2 ¶ 2.

However, the Ninth Circuit has recognized that “a defendant may

be prosecuted for a RICO conspiracy and later for the predicate

offenses that constituted a pattern of racketeering activity,”

even when “the predicate offense is a conspiracy.”             United States

v. Luong, 393 F.3d 913, 914 (9th Cir. 2004).

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      “RICO imposes civil and criminal liability on organizations
engaged in ‘racketeering activity.’ 18 U.S.C. §§ 1962-1964.
Racketeering activity, in turn, is defined to include a number of
generically specified criminal acts as well as the commission of
one of a number of listed predicate offenses.” 18 U.S.C.
§ 1961(1). Sosa v. DIRECTV, Inc., 437 F.3d 923, 939 (9th Cir.
2006).

                                   5
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 6 of 9
                               PageID.2421


          In Luong, the Ninth Circuit determined that the Double

Jeopardy clause did not bar a Hobbs Act conspiracy charge brought

after defendants had previously been prosecuted on RICO charges

that included a conspiracy to commit the Hobbs Act violations as

the predicate act for the RICO prosecution.        Id.   Luong continued

the longstanding rule in the Ninth Circuit that “a defendant can

be convicted and separately punished both for the predicate acts

which form the basis of a RICO charge, and for a substantive

violation of RICO, without violating the Double Jeopardy Clause.”

United States v. Solano, 605 F.2d 1141, 1143 (9th Cir. 1979).

The court is unpersuaded by Joseph’s bald assertion that the

Ninth Circuit only meant to exempt from the Double Jeopardy

prohibition “structural conduct that is separate and apart from

predicate offenses.”   See Memorandum in Support of Motion at 6.

Accordingly, there is no Double Jeopardy problem for Joseph to be

prosecuted for a RICO or a RICO conspiracy violation, as well as

for the predicate acts underlying those charges.

          Nor has Joseph demonstrated a Double Jeopardy problem

based on his prosecution for the RICO and illegal gambling

charges alleged in Counts 1 to 3, as well as for the violent

crimes in aid of racketeering (“VICAR”) charges, alleged

violations of 18 U.S.C. § 1959 set forth in Count 4 (assault with

a dangerous weapon), Count 6 (murder), Count 7 (murder), and

Count 8 (attempted murder).     See United States v. Merlino, 310


                                   6
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 7 of 9
                               PageID.2422


F.3d 137, 141 (3d Cir. 2002) (“In the indictment before us now,

however, he is charged with violating 18 U.S.C. § 1959 , which

prohibits the commission of violent crime in aid of racketeering.

Because that VICAR offense requires proof of an element that the

RICO offense does not, and vice-versa, they are different

offenses for the purposes of the Double Jeopardy Clause.”);

United States v. Marino, 277 F.3d 11, 39 (1st Cir. 2002) (“Many

courts, including this one, have considered the issue of whether

the double jeopardy clause prohibits separate punishments for a

substantive RICO violation as well as its predicate acts.            These

courts have reached the conclusion that it does not.           Here, the

VICAR violation is a predicate act as well as its own separate

violation.   The district court did not err in punishing Marino

separately for both offenses.”); United States v. Polanco, 145

F.3d 536, 542 (2d Cir. 1998) (“the Second Circuit has already

held that the government may prosecute a defendant both under

RICO for engaging in a pattern of racketeering activity and also

under § 1959 for violent crimes intended to maintain or increase

the defendant’s position in the RICO enterprise”).

          Given Luong and Solano, the differences in the elements

of the VICAR charges contained in Counts 4 to 8 and the elements

of the RICO and gambling charges alleged in Counts 1 to 3

demonstrate that there is no double jeopardy problem with respect




                                   7
  Case 1:06-cr-00080-SOM-BMK   Document 571   Filed 12/21/07   Page 8 of 9
                               PageID.2423


to the VICAR charges asserted in the Second Superseding

Indictment.

           Moreover, nothing in the Second Superseding Indictment

indicates that the Government in this case is trying to

manufacture “a substantial RICO prosecution from a relatively

insignificant gambling operation.”     See Memorandum in Support of

Motion at 7.    To the contrary, the VICAR charges allege heinous

conduct in furtherance of a racketeering enterprise.

           The court is also not persuaded by Joseph’s citation of

United States v. Gardner, 417 F. Supp. 2d 703 (D. Md. 2006), for

the proposition that Counts 1, 2, 4, 5, 6, 7, and 8 should be

dismissed as multiplicitous of Count 3.       First, that case is

contrary to established Ninth Circuit case law that is binding on

this court.    Second, Gardner is also distinguishable on its

facts.   In Gardner, the district court in Maryland held that a

charge of racketeering conspiracy and a separate charge of

conspiracy to commit murder in aid of racketeering essentially

sought to punish the same conduct.     Unlike Gardner, the Second

Superseding Indictment’s counts are not seeking to punish Joseph

for the same conduct.    Instead, each count seeks to punish a

separate act.    For example, Count 3 seeks to punish Joseph for

his alleged involvement with a gambling business.          Count 6, on

the other hand, seeks to punish Joseph for an alleged murder that

furthered his position in a racketeering enterprise.           Joseph


                                   8
  Case 1:06-cr-00080-SOM-BMK     Document 571    Filed 12/21/07   Page 9 of 9
                                 PageID.2424


fails to demonstrate that any count of the Second Superseding

Indictment charges the same conduct as another count in that

indictment.

III.        CONCLUSION.

            For the reasons set forth above, Joseph’s motions to

dismiss (Document Nos. 439 and 441) are denied without a hearing.



            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, December 21, 2007.




                                           /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge



United States v. Joseph, Crim. No. 06-00080 SOM (02); ORDER DENYING RODNEY
JOSEPH’S MOTIONS TO DISMISS (DOCUMENT NOS. 439 AND 441)




                                      9
